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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )  Criminal No. 1:17-cr-0046-RBW
                                    )
KASSIM TAJIDEEN,                    )
                                    )
                  Defendant.        )
___________________________________ )

            SECOND JOINT MOTION TO CONTINUE SENTENCING DATE

       This matter is currently scheduled for sentencing on February 26, 2019. A condition of

the plea agreement requires the defendant to make a substantial forfeiture payment on or before

the date of sentencing. ECF 215, at 11. The parties recognized that assembling and transferring

the funds for the forfeiture payment would be subject to various potential complications and that

the funds might not be available by the initial sentencing date. Accordingly, the plea agreement

provides for a 180 day window for transferring the funds (which defendant calculates to

terminate on June 4, 2019), and states that “if banking issues prevent funds from being

transferred by the date scheduled for sentencing, the parties will jointly request a delay in the

scheduled sentencing date.” Id. at 11-12.

       The Court previously granted an extension of the sentencing date. ECF 223. During the

extended period, defendant and his counsel have continued working on assembling and

transferring the forfeiture amount. Defense counsel understands that defendant has access to

assets, some of which are held in real estate, that are more than sufficient to cover the forfeiture

amount. The chief problem, defense counsel understands, is that the existing OFAC restrictions

and other U.S. policies make Lebanon banks highly reluctant to assist defendant or his family in

significant transactions, even with an OFAC license. One of defendant’s U.S. lawyers traveled to
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Lebanon in January to meet with defendant’s family members and others who may be able to

assist. A Lebanese-based lawyer for defendant is scheduled to meet with an official of the

Lebanon Central Bank on February 26. And defense counsel are currently attempting to work

with government counsel to overcome the banking issues that have arisen in Lebanon.

        The funds will not be available by February 26, 2019, however, and the government has

agreed to join in this second motion for continuance of the sentencing, in accordance with the

plea agreement. (Defendant remains incarcerated, so extending the sentencing date does not

benefit him.)

        Accordingly, the parties jointly request that the Court continue the sentencing by

approximately 30-45 days, and that the Court reset the sentencing to an available date in the

period between March 26, 2019, to April 8, 2019.1 A proposed order is attached.




        1
            Undersigned counsel (John Connolly) will coordinate with government counsel to arrange an available
date for all counsel, if the Court provides available dates.

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Dated: February 21, 2019                       Respectfully submitted,

JESSIE K. LIU (D.C. Bar No. 472845)            ZUCKERMAN SPAEDER LLP
United States Attorney

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 21, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.



                                                /s/ John J. Connolly_____________
                                                John J. Connolly
